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                               UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND
         CHAMBERS OF                                                                        101 WEST LOMBARD STREET
     1. FREDERICK Morz                                                                     BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                                        (410) 962-0782
                                                                                                 (410) 962-2698 FAX




                                                            June 16,2016

             MEMO TO COUNSEL RE: Faddis Concrete, Inc. v. Brawner Builders, Inc.
                                 Civil No. ELH-15-3975

     Dear Counsel:

            I have reviewed the memoranda submitted in connection with Brawner Builders, Inc.'s
     motion to dismiss for lack of ripeness.

              The motion is denied. The claims set forth in plaintiffs complaint are "ripe," particularly
     in light of the fact that plaintiff alleges that Brawner Builders owes it money for payment of the
     contract balance and trucking charges on the parties' contract. This is not to say that plaintiff s
     effort to hold Brawner Builders liable for SHA's alleged conduct will be successful. That is a
     matter that can be raised by a motion for summary judgment filed by Brawner Builders in
     accordance with the schedule instituted by this court.

            Despite the informal nature of this letter, it should be flagged as an opinion and docketed
    as an order.

                                                            Very truly yours,




                                                            J.L~:'L-
                                                            United States District Judge




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